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                   IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

In re                                      )       Chapter 13 Case
SHERRY D’AGOSTINO,                         )       Case No.: 22 B 08993
                                           )
              Debtor.                      )       Hon. Carol A. Doyle
                                           )
                                           )       Hearing Date: September 20, 2022
                                           )       Hearing Time: 9:30 a.m.

                                   NOTICE OF MOTION

       PLEASE TAKE NOTICE that on September 20, 2022 at 9:30 a.m. or as soon thereafter
as counsel may be heard, the undersigned shall appear before the Hon. Carol A. Doyle, or any
Judge sitting in her place and present the attached MOTION FOR ANNULMENT OR,
ALTERNATIVELY, RELIEF FROM THE AUTOMATIC STAY, a copy of which is hereby
served upon you.

       This motion will be presented and heard electronically using Zoom for Government.
No personal appearance in court is necessary or permitted. To appear and be heard on the
motion, you must do the following:

       To appear by video, use this link: https://www.zoomgov.com/. Then enter the meeting
ID and password.

       To appear by telephone, call Zoom for Government at 1-669-254-5252 or 1-646-828-
7666. Then enter the meeting ID and password.

       Meeting ID and password. The meeting ID for this hearing is 161 155 8289 and
password is Doyle742. The meeting ID can also be found on the Judge’s page on the Court’s
website.

        If you object to this motion and want it called on the presentment date above, you must
file a Notice of Objection no later than two (2) business days before that date. If a Notice of
Objection is timely filed, the motion will be called on the presentment date. If no Notice of
Objection is timely filed, the Court may grant the motion in advance without a hearing.

                                                   BAYPOINT CAPITAL PARTNERS, LP
Sandra A. Franco-Aguilera (#6286182)
Manetti Aguilera Seiler LLC                        By:__/s/ Sandra A. Franco-Aguilera
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                                CERTIFICATE OF SERVICE

       I, Sandra A. Franco-Aguilera, an attorney, certify that I caused a copy of this Notice and
Motion to be served on the parties that are listed on the attached Service List by regular mail,
postage prepaid, and through the Court's ECF system on September 13, 2022.

                                             /s/ Sandra A. Franco-Aguilera

SERVICE LIST

Via U.S. Mail

Debtor

Sherry D’Agostino
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Bartlett, IL 60103

Via ECF

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                     IN THE UNITED STATES BANKRUPTCY COURT
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In re                                        )       Chapter 13 Case
                                             )
SHERRY D’AGOSTINO,                           )       Case No.: 22 B 08993
                                             )
               Debtor.                       )       Hon. Carol A. Doyle
                                             )
                                             )       Hearing Date: September 20, 2022
                                             )       Hearing Time: 9:30 a.m.

             MOTION FOR ANNULMENT OR, ALTERNATIVELY, RELIEF
                        FROM THE AUTOMATIC STAY

        BAY POINT CAPITAL PARTNERS, LP (“Bay Point”), by and through its undersigned

attorneys, requests that this Court enter an order annulling the automatic stay or, alternatively,

requesting relief from the automatic stay (the “Motion”). In support of the Motion, Bay Point

states respectfully as follows:

                                  I.     Jurisdiction and Venue

               This Court has jurisdiction to determine this matter pursuant to 28 U.S.C. §§

157(b)(1), 157(b)(2)(G) and 1334. The statutory basis for the relief requested herein is 11 U.S.C.

§ 362(d) and Rule 4001(a) of the Federal Rules of Bankruptcy Procedure.

                                       II.    Introduction

        Although this is the first Chapter 13 Case filed by Sherry D’Agostino (the “Debtor”).

This is not the first attempt to delay the underlying foreclosure proceeding that is pending in the

Circuit Court of Cook County as Case No. 2020 CH 05691 (the “Foreclosure Case”) filed by

Bay Point against MPSDRE, LLC (the “Mortgagor/Borrower”), the Debtor, as guarantor and

Michael Pellegrino (“M.Pellegrino”), as guarantor. The Foreclosure Case seeks the foreclosure



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of property located at 456 Blue Heron Circle, Bartlett, IL (“Property”) which is owned by

Mortgagor/Borrower and breach of contract against Debtor and M.Pellegrino as to their

respective guaranties. M.Pellegrino filed two previous Chapter 7 proceedings, the 2019 case was

dismissed without a discharge on March 5, 2021 (Case No. 19-17368), and the 2021 case was

dismissed without a discharged on July 22, 2021 (Case No. 21-05926).

       On August 10, 2022 (a day after the Debtor’s bankruptcy case was filed), oral arguments

on Bay Point’s judgment motions in the Foreclosure Case were held, with Bay Point’s counsel

and Mortgagor/Borrower, Debtor and M. Pellegrino’s counsel present. Neither Bay Point’s

counsel nor Mortgagor/Borrower, Debtor and M.Pellegrino’s counsel were aware of Debtor’s

bankruptcy filing the previous day. Bay Point did not receive actual notice of the bankruptcy

filing until August 15, 2022.

       Although the Property is not part of the bankruptcy estate pursuant to 11 USC §541, the

Debtor occupies the Property and Bay Point cannot proceed with the Foreclosure Case without

an annulment and/or modification of the automatic stay. Accordingly, Bay Point requests that

the automatic stay be annulled retroactively to August 9, 2022, the Petition Date. Alternatively,

Bay Point requests that any stay in existence be modified immediately.

                                   III.   Background Facts

               On August 9, 2022 (the “Petition Date”), the Debtor filed a voluntary petition for

relief under Chapter 13 of the Bankruptcy Code (the “Chapter 13 Case”). Thomas Hooper has

been appointed the Chapter 13 Trustee (the “Trustee”).

               On the Petition Date, Bay Point did not receive notice of the filing of the Chapter

13 Case. It is also clear that Debtor’s counsel was also not aware of the filing of the Chapter 13




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Case as Debtor’s counsel proceeded with oral arguments on August 10, 2022 in the Foreclosure

Case without any mention of the Debtor’s bankruptcy filing.

               Bay Point has a security interest in the Property pursuant to mortgage dated April

2, 2018, executed and granted by Mortgagor/Borrower, in favor of Bay Point and recorded in the

Office of the Cook County Recorder of Deeds on May 4, 2018, as Document No. 1812428001,

as a first lien against the Property (“Mortgage”). The Mortgage secures the repayment of a Note

dated April 2, 2018 in the amount of $180,000.00 executed by Mortgagor/Borrower (the “Note”)

and is governed further by the terms of a Loan Agreement executed by Mortgagor/Borrower

(“Loan Agreement”). Debtor and M.Pellegrino are guarantors of the Note whereby they each

guaranteed full and prompt payment under the Note. The Mortgage, Note, Loan Agreement, and

guaranties shall hereinafter be referred to collectively as the “Loan Documents”. Copies of the

Loan Documents are attached hereto as Group Exhibit A.

               As Debtor occupies the Property, Bay Point is now requesting that the stay be

annulled retroactively to the Petition Date given that the Property is not part of the bankruptcy

estate pursuant to 11 USC §541 and that Bay Point and Debtor’s counsel in the Foreclosure Case

had no notice of the filing of the Chapter 13 Case. Alternatively, Bay Point requests that the stay

be modified immediately in order to allow Bay Point to proceed with its foreclosure sale.

                                    IV.        Relief Requested

               Bay Point is requesting that the stay be annulled pursuant to 11 U.S.C. § 362(d)

or, alternatively, modified immediately pursuant to 11 U.S.C. § 362(d).

   A.          Procedural Background in State Court

               On September 30, 2020, Bay Point filed its Complaint for Mortgage Foreclosure,

initiating the Foreclosure Case and on May 6, 2021 filed its Amended Complaint for Mortgage



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Foreclosure (the “Complaint”). A copy of the Complaint (without exhibits) is attached hereto

and incorporated herein as Exhibit B. Following the filing of the Complaint, Bay Point filed an

Amended Motion for Summary Judgment and Judgment of Foreclosure and Sale on June 22,

2022.   After briefing and oral arguments, the State Court entered the Order of Summary

Judgment and Judgment of Foreclosure and Sale on August 10, 2022, without the knowledge of

the filing of the Chapter 13 Case. Copies of the Order of Summary Judgment (the “Order”) and

Judgment of Foreclosure and Sale (“JOFS”) are attached hereto and incorporated herein as

Group Exhibit C.

               Although the automatic stay should not prevent the entry of Judgment of

Foreclosure and Sale against Mortgagor/Borrower and M.Pellegrino, the automatic stay was put

into effect as to the Debtor, who is currently in possession of the Property.   Bay Point would

like the Bankruptcy Court to annul the automatic stay or, alternatively, modify the automatic stay

so that Bay Point can proceed with the Foreclosure Case and schedule a judicial sale of the

Property. Bay Point is not looking to enforce the guaranty against Debtor while this bankruptcy

proceeding is pending.

   B.          Annulment of the Automatic Stay

               A bankruptcy court “has wide latitude to grant relief from the automatic stay

including the ability to retroactively annul the stay.” In re Syed, 238 B.R. 133,144 (Bankr.

N.D.Ill. 1999). An annulment order is a unique form of relief because, if entered, it gives the

court’s approval to postpetition actions that violated the automatic stay. In re Szyszko, 234 B.R.

408, 412 (Bankr. N.D.Ill 1999). Since annulment works in a retroactive manner, it should only

be granted if the creditor “did not have knowledge of the applicability of the automatic stay” and




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“in accordance with equitable principles.” Id. A court should grant annulment when application

of the automatic stay “would unfairly prejudice the creditor.” Id.

                  In this case, not only did Bay Point and Bay Point’s counsel not have notice of the

Debtor’s bankruptcy filing, Debtor’s counsel in the foreclosure case also did not have notice as

oral arguments proceeded on August 10, 2022 in the Foreclosure Case without any mention of

Debtor’s bankruptcy filing the day prior.

                  Further, the Property is not part of the bankruptcy estate as the Property is owned

by the Mortgagor/Borrower who is a limited liability company. Illinois law is clear that the assets

of a limited liability company do not become property of a member’s bankruptcy estate. Gierum

v. Glick (In re Glic), 568 B.R. 634, 668 (Bank.N.D.Il.2017) citing Fowler v. Shadel, 400 F.3d

1016, 1019 (7th Cir. 2005).

                  Bay Point has a security interest in the Property by way of a written mortgage

executed by the Mortgagor/Borrower and, as a result of the Mortgagor/Borrower’s default in

failing to make the February 28, 2019 and subsequent installment payments as well as failure to

pay upon maturity of the Note on May 31, 2020, Bay Point Bank is entitled to foreclose on the

Property and proceed with a foreclosure sale.

                  Lastly, as proposed in Debtor’s Chapter13 Plan [Docket No. 2], Bay Point has

serious doubts that Debtor can make the $6,351.68 monthly payment to the Trustee for payments

owed to Bay Point. See Docket No. 2, page 3.1 More concerning is that pursuant to Debtor’s

Petition [Docket No. 1], the monthly payments to the Trustee would be primarily funded by

M.Pellegrino. See Docket No.1, page 35. However, to date, only two payments have ever been

made to Bay Point under the Note. In addition, current insurance on the Property has not been
1Although Bay Point references Debtor’s Chapter 13 Plan, Bay Point does not concede that the terms set forth in
Debtor’s Chapter 13 Plan is correct. In fact, Bay Point disputes the total amount due and the terms stated by Debtor
as the terms do not reflect the actual terms in the Loan Documents.

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provided and the property taxes were not being paid and on June 30, 2020, Bay Point redeemed

the property taxes in the amount of $25,618.00. Accordingly, the total balance owed to Bay

Point as of the Petition Date is approximately $360,566.33 and continues to accrue. A copy of

the Payoff Statement is attached hereto and incorporated herein as Exhibit D. Bay Point has

serious concerns that this Chapter 13 case was not filed in good faith but simply to cause further

delay and hinder the efforts of Bay Point. Nothing in the record indicates that the Debtor has the

financial capability to conclude a plan for repayment that will be fully performed in this case.

Thus, based on the foregoing, the automatic stay should be annulled, retroactively to the Petition

Date so Bay Point may proceed with foreclosure on the Property.

   C.          Relief from the Automatic Stay

               For the reasons set forth above, Bay Point requests, alternatively, that the stay be

modified immediately under 11 U.S.C. § 362(d) so that the Bank can take any and all action it

deems necessary to enforce its rights in and to the property located at 456 Blue Heron Circle,

Bartlett, Illinois, including, but not limited to, moving forward with a foreclosure sale of the

Property.

               Section 362(d) of the Bankruptcy Code establishes the grounds under which relief

from the automatic stay may be granted. In re Pelham Enter., Inc., 376 B.R. 684, 689 (Bankr.

N.D. Ill. 2007). Section 362(d) of the Bankruptcy Code allows the bankruptcy court to grant

relief from the automatic stay by annulling, terminating or modifying the automatic stay. 11

U.S.C. § 362(d); see also In re Pelham Enter., Inc., 376 B.R. 684, 689 (Bankr. N.D. Ill. 2007).

The first ground for relief from the stay is for cause, including the lack of adequate protection.

11 U.S.C. § 362(d)(1). “Cause” for relief under section 362(d)(1) of the Bankruptcy Code has




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not been clearly defined and is determined on a case-by-case basis. In re Fernstrom Storage &

Van Co., 938 F.2d 731, 735 (7th Cir. 1991).

                  The second ground for relief under 11 U.S.C. § 362(d)(2) is that the Debtors do

not have equity in the property and the property is unnecessary to an effective reorganization. 11

U.S.C. § 362(d)(2). The party requesting relief had the burden of proving that the Debtors do not

have equity in the property. See 11 U.S.C. § 362(g)(1); see also Pelham, 376 B.R. at 689. The

party opposing relief from the stay has the burden of proof on all other issues. See 11 U.S.C. §

362(g)(2); see also Pelham, 376 B.R. at 689).

                  Bay Point requests that the Bankruptcy Court enter an order terminating or

modifying the automatic stay immediately in order to allow Bay Point to proceed under

applicable non-bankruptcy law to enforce its rights and remedies with respect to the Property.

       Bay Point is entitled to relief from the automatic stay for the following reasons:

            (i)        Under § 362(d)(1), cause exists for relief from the automatic stay due to
                       “the lack of adequate protection of an interest in property of” the Bank. 11
                       U.S.C. § 362(d)(1). Adequate protection may be provided by (1) making
                       periodic cash payments to the Bank; (2) granting an additional or
                       replacement lien; or (3) granting the indubitable equivalent of the interest in
                       the property to recompense for losses incurred to the value of the property.
                       11 U.S.C. § 361(1)-(3).

           (ii)        Under § 362(d)(2), the Debtor does not have equity in the Property at issue,
                       and the Property is not necessary to an effective reorganization. 11 U.S.C. §
                       362(d).

                  In this case, relief from the automatic stay is proper under sections 362(d)(1)-(2)

of the Bankruptcy Code. First, cause exists for relief from the stay as Bay Point should be

permitted to protect its interests in the Property. As set forth above, Bay Point has a security

interest in the Property and due to the Mortgagor/Borrower’s default under the Note, Bay Point is

entitled to foreclose on the Property and proceed with a foreclosure sale. Bay Point has serious



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doubts about Debtor’s ability to make payments to the Trustee as the funds will be primarily

funded by M.Pellegrino as stated in Debtor’s petition.           Debtor and M.Pellegrino have

consistently failed to make required payments to Bay Point and nothing on the record or in

Debtor’s plan shows that the filing of this bankruptcy case will change that. As of the Petition

Date, Bay Point is owed the approximate amount of $360,566.33 and that amount continues to

accrue. See Payoff Statement attached hereto and incorporated herein as Exhibit D. Further, the

Property is not part of the Debtor’s bankruptcy estate and therefore not necessary for an effective

reorganization.

               At this point, the Debtor is utilizing the bankruptcy process solely to enable her to

enjoy the benefits of living in the Property without paying Bay Point. She is also utilizing the

bankruptcy process to forestall Bay Point’s possession of the Property through a foreclosure sale.

Moreover, the debt to Bay Point ($360,566.33) outweighs the Debtor’s stated equity in the

Property, which she valued at $486,200.00 in the Bankruptcy Schedules filed with the

Bankruptcy Court on the Petition Date. [Docket No. #1, page 10, Schedule A].

               In light of the foregoing, Bay Point is requesting, alternatively, that the

Bankruptcy Court modify the automatic stay immediately in order to allow Bay Point to proceed

with its rights and remedies as to the Property to protect its collateral. Bay Point is also

requesting that the stay of proceedings imposed by Federal Rule of Bankruptcy Procedure

4001(a)(3) be waived.

                                                V. Notice

               Notice of this Motion has been given to the Debtor, Debtor’s counsel, the Office

of the United States Trustee and the Chapter 13 Trustee.




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       WHEREFORE, Bay Point Capital Partners, LP, requests that this Bankruptcy Court enter

an order (i) annulling the automatic stay or, alternatively, (ii) modifying the automatic stay under

Section 362(d) of the Bankruptcy Code so that Bay Point can enforce all its rights as a secured

creditor including, but not limited to, moving forward with a foreclosure sale of the Property;

(iii) finding the automatic stay imposed by Federal Rule of Bankruptcy Procedure 4001(a)(3) is

waived and the modification of the stay is effective immediately; and (iv) granting Bay Point

such other and further relief as my be appropriate under the circumstances.

                                              Respectfully submitted,
                                              BAY POINT CAPITAL PARTNERS, LP
Sandra A. Franco-Aguilera (#6286182)
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